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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  ) Case No. 1:21-cr-175-TJK
                                                  )
                       v.                         )
                                                  )
 ETHAN NORDEAN, et al.,                           )
                                                  )
        Defendants.                               )
                                                  )

     NORDEAN’S RESPONSE TO THE GOVERNMENT’S MOTION TO COMPEL
                           EXPERT NOTICE
       On January 2, the government moved the Court for “an order compelling defendant Ethan

Nordean to provid[e] expert notice for a putative expert witness . . .” ECF No. 621. As the

motion rests on a misreading of Federal Rule of Criminal Procedure 16, the Court should deny it.

Argument—Rule 16’s expert disclosure provisions

       Federal Rule of Criminal Procedure 16 contains two sets of expert witness disclosure

requirements, one for the government and one for the defense. The first is the government’s:

          (G) Expert Witnesses.
       (i) Duty to Disclose. At the defendant’s request, the government must disclose to the
       defendant, in writing, the information required by (iii) for any testimony that the
       government intends to use at trial under Federal Rules of Evidence 702, 703, or 705
       during its case-in-chief, or during its rebuttal to counter testimony that the defendant
       has timely disclosed under (b)(1)(C). If the government requests discovery under the
       second bullet point in (b)(1)(C)(i) and the defendant complies, the government must, at
       the defendant’s request, disclose to the defendant, in writing, the information required by
       (iii) for testimony that the government intends to use at trial under Federal Rules of
       Evidence 702, 703, or 705 on the issue of the defendant’s mental condition.

Fed. R. Crim. P. 16(a)(1)(G)(i) (emphasis and underlining added).




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The defendant’s expert witness disclosure requirement is as follows:

               (C) Expert Witnesses.

       (i) Duty to Disclose. At the government’s request, the defendant must disclose to the
       government, in writing, the information required by (iii) for any testimony that the
       defendant intends to use under Federal Rule of Evidence 702, 703, or 705 during the
       defendant’s case-in-chief at trial, if:
               •      the defendant requests disclosure under (a)(1)(G) and the
                      government complies; or

               •      the defendant has given notice under Rule 12.2(b) of an intent
                      to present expert testimony on the defendant’s mental condition.

Fed. R. Crim. P. 16 (b)(1)(C)(i) (emphasis added).

       As the government allows—ECF No. 621, p. 3—Rule 16(b)(1)(C)(i) was amended,

effective December 1, 2022, to add the phrase “defendant’s case-in-chief.” Fed. R. Crim. P. 16,

2022 Advisory Committee Notes. The Supreme Court order implementing this amendment

directs that it “shall govern in all criminal cases [] commenced [after December 1, 2022] and,

insofar as just and practicable, all proceedings then pending.” See

https://www.supremecourt.gov/orders/courtorders/frcr22_llh2.pdf, p. 3 (emphasis added).

       The government suggests that the addition of the phrase “defendant’s case-in-chief” to

Rule 16(b)(1)(C)(i) effected no change at all, that the new language is surplusage. Argues the

government:

       The Advisory Notes make clear that the addition of the phrase in the 2022 version of the
       rule was added solely to make the government’s and defendant’s disclosures “parallel as
       well as reciprocal.” Fed. R. Crim. P. 16, 2022 Advisory Committee Notes. The
       Committee further was explicit: “No change from current practice in this respect is
       intended.” Id.

ECF No. 621, p. 4.

       However, the government has omitted material from the Committee Note. Immediately

before the line quoted by the government is the following commentary:



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       The amendment to (b)(1)(C) includes the limiting phrase—now found in (a)(1)(G) and
       carried forward in the amendment— restricting the disclosure obligation to testimony the
       defendant will use in the defendant’s “case-in-chief. . .”

       The amendment to (a)(1)(G) also clarifies that the government’s disclosure obligation
       includes not only the testimony it intends to use in its case-in-chief, but also testimony it
       intends to use to rebut testimony timely disclosed by the defense under (b)(1)(C).

Fed. R. Crim. P. 16, 2022 Advisory Committee Notes (emphasis added).

       Thus, following the December 1, 2022 amendment, Rule 16 explicitly distinguishes

between expert testimony used during a party’s “case-in-chief” (for which both the government

and the defendant have a Rule 16 disclosure obligation) and such testimony used in rebuttal (for

which only the government has a Rule 16 disclosure obligation).

       The government’s motion nowhere addresses the meaning of the legal phrase “case-in-

chief.” That is because the definition contradicts the government’s position. The Federal Rules

of Criminal Procedure have the force and effect of law, and as the Supreme Court has explained,

those rules are interpreted the same way courts interpret statutes, by looking first to “the Rule’s

plain language.” United States v. John Doe, Inc. I., 481 U.S. 102, 109 (1987); see also United

States v. Petri, 731 F.3d 833, 839 (9th Cir. 2013). The plain meaning of “case-in-chief” is

settled. It refers to “[t]he evidence presented at trial by the party with the burden of proof.”

Black’s Law Dictionary 207 (7th ed. 1999). A criminal defendant bears a burden of proof only

where he presents an affirmative defense, such as insanity. See, e.g., 18 U.S.C. § 17; United

States v. Weston, 255 F.3d 873, 884 (D.C. Cir. 2001).

       Here, the government’s motion shows that Nordean does not intend to offer expert

testimony “during [his] case-in-chief at trial.” Fed. R. Crim. P. 16 (b)(1)(C)(i). As he explained,

       Case in chief is a term of art that refers to evidence presented by a party with a burden of
       proof. When it is used in the context of a defendant in a criminal case, the term refers to
       an affirmative defense. More, “rebuttal” in “rebuttal expert” does not refer to the case
       phase (government’s case, defense case), it refers to whether the evidence presented by



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       the expert responds to evidence presented by an opposing party or is independent. Here,
       Duffy Hoffman would not testify as to any affirmative defense but rather respond to
       repair cost evidence presented by the government.

ECF No. 621, p. 2.

       The Court’s Trial Procedures Order confirms Nordean’s understanding of rebuttal

evidence. Trial Procedures Order, ECF No. 595, p. 3 (defining “rebuttal evidence” to mean

“‘[e]vidence offered to disprove or contradict the evidence presented by an opposing party.’”

(quoting Black’s Law Dictionary (9th ed. 2009)).

       Although Nordean has no Rule 16 disclosure obligation with respect to rebuttal expert

testimony such as Duffy Hoffman’s, he provided ample information about the expert to the

government, allowing it before the onset of trial to research the witness and his corpus:

       As a courtesy to the government and to avoid any claim of surprise, we are notifying the
       government of Nordean’s intent to introduce rebuttal expert testimony, which will depend
       on the government’s evidence concerning repair costs related to the Capitol window and
       black fence.

       The rebuttal expert is Duffy Hoffman, the owner of Hoffman Preservation and
       Restoration, which has been in the business of repairs at historical buildings for over 30
       years. Mr. Hoffman is the author of a treatise in the field, published by the Window
       Preservation Standards Collaborative.1

ECF No. 621, p. 2.

       Though the Supreme Court has directed courts to apply the new amendments to Rule 16

to cases pending on December 1, 2022 “insofar as just and practicable,” the government flatly

states in a footnote that application of them to Nordean’s case “would be neither just nor

practicable.” ECF No. 621, p. 4 n. 3. But it provides no basis for that claim apart from the vague

assertion that not ordering Nordean to provide a burdensome Rule 16 disclosure could




1
 The Collaborative’s website, which features Mr. Hoffman, is not difficult to locate:
https://windowstandards.org.


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“potentially cause a mid-trial delay.” Id. It does not explain why or how trial would be delayed

given that it has possessed Mr. Hoffman’s identity, field of expertise, the name of his treatise and

the identity of his organization since before trial commenced. Tellingly, nowhere does the

government explain what additional notice it believes it requires to avoid speculative trial delay.

       For all these reasons, the government’s motion should be denied.

Dated: January 16, 2023                               Respectfully submitted,


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       I hereby certify that on the 16th day of January, 2023, I filed the foregoing document with

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